

People v Gamble (2023 NY Slip Op 05107)





People v Gamble


2023 NY Slip Op 05107


Decided on October 10, 2023


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: October 10, 2023

Before: Manzanet-Daniels, J.P., Gesmer, González, Kennedy, O'Neill Levy, JJ. 


Ind. No. 3464/16 Appeal No. 734 Case No. 2019-816 

[*1]The People of the State of New York, Respondent, 
vKevin Gamble, Defendant-Appellant.


Twyla Carter, The Legal Aid Society, New York (IvÁn B. Pantoja of counsel), for appellant.
Darcel D. Clark, District Attorney, Bronx (Oliver Lee of counsel), for respondent.



An appeal having been taken to this Court by the above-named appellant from a judgment of the Supreme Court, Bronx County (Alvin M.Yearwood, J.), rendered October 15, 2018,
Said appeal having been argued by counsel for the respective parties, due deliberation having been had thereon, and finding the sentence not excessive,
It is unanimously ordered that the judgment so appealed from be and the same is hereby affirmed.
THIS CONSTITUTES THE DECISION AND ORDER
OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: October 10, 2023
Counsel for appellant is referred to
§ 606.5, Rules of the Appellate Division,
First Department.








